Case 1:21-cr-20495-KMW Document 10-1 Entered on FLSD Docket 10/08/2021 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 21-CR-20495-KMW


   UNITED STATES OF AMERICA,

                  Plaintiff,

   v.

   MICHAEL VAN NOSTRAND, et al.,

               Defendants.
   ______________________________________/


           [PROPOSED] ORDER GRANTING UNOPPOSED MOTION TO TRAVEL

          THIS CAUSE came before the Court on Defendant Michael Van Nostrand’s Unopposed

   Motion to Travel (the “Motion”), in which Mr. Van Nostrand requests the Court’s permission to

   travel to Helen, Georgia from October 14, 2021 to October 17, 2021 for the purpose of attending

   his high school reunion. The Court, having reviewed the Motion, having been informed that the

   United States of America does not oppose the Motion, and being otherwise fully advised in the

   premises, it is hereby

          ORDERED AND ADJUDGED that the Motion is GRANTED.

          The Court authorizes Mr. Van Nostrand to travel to Helen, Georgia from October 14, 2021

   through October 17, 2021 for the purpose of attending a high school reunion. The standard

   condition of bond that prohibits Mr. Van Nostrand from traveling outside of the Southern District

   of Florida without prior court approval is hereby temporary lifted for the purpose of allowing Mr.

   Van Nostrand to travel as provided in this order.


          DONE AND ORDERED in chambers at Miami, Florida, this ____ day of October, 2021.
Case 1:21-cr-20495-KMW Document 10-1 Entered on FLSD Docket 10/08/2021 Page 2 of 2




                                            _______________________________
                                            KATHLEEN WILLIAMS
                                            UNITED STATES DISTRICT JUDGE


   Copies provided to:
   Counsel of record
   United States Probation Office




                                        2
